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                  UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE



United States of Amercia

             v.                               Criminal No. 08-cr-30-01,02,03,04-PB

Danielle Rhodes,
Enrique Rosario,
Elvis Delarosa and
Victor Caceres



                                     ORDER

      Defendant Elvis Delarosa, through counsel, has moved to continue the May 6,

2008 trial in the above case, citing the need for a continuance as the discovery has

just begun and he now requires additional time to prepare for trial. The government

and counsel for co-defendants do not object to a continuance of the trial date.

      Accordingly, for the above reason and to allow the parties additional time to

properly prepare for trial, the court will continue the trial from May 6, 2008 to July

8, 2008. In agreeing to continue the trial, the court finds pursuant to 18 U.S.C.A. §

3161(h)(8)(A) that for the above-stated reasons, the ends of justice served in granting
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a continuance outweigh the best interests of the public and the defendants in a speedy

trial.

         The April 24, 2008 final pretrial conference is continued to June 26, 2008 at

3:45 PM.

         SO ORDERED.




April 4, 2008                                /s/ Paul Barbadoro
                                           Paul Barbadoro
                                           United States District Judge


cc:      Terry Ollila, Esq.
         James Gleason, Esq.
         Richard Monteith, Esq.
         Lawrence Vogelman, Esq.
         Jeffrey Levin, Esq.




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